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                IN THE UNITED STATES DISTRICT COURT

           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA :

      v.                               : CRIMINAL NO. 17-132

JAMES TURNER                           :


            GOVERNMENT=S RESPONSE IN OPPOSITION TO
            DEFENDANT’S MOTION TO REDUCE SENTENCE
              PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)


      Defendant James Turner seeks compassionate release under 18 U.S.C.

§ 3582(c)(1)(A)(i). This motion should be denied, given the obvious danger that

Turner presents to the community, as well as the fact that his medical conditions

are well controlled with treatment in BOP custody.

I.    Background.

      A.     Criminal Conduct.

      In a period of less than 25 hours on February 15 and 16, 2017, James

Turner robbed three banks in Philadelphia of over $10,000. While he did not use

a weapon during the three robberies, he gave threatening notes to the victim

tellers, telling them he was not “playing any games.” On July 11, 2017, he pled

guilty to three counts of bank robbery, in violation of 18 U.S.C. § 2113(a).
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      These crimes marked only the latest offenses in an incredible 37-year

stretch, throughout his adult life, during which Turner incurred 14 criminal

convictions, usually with interruptions only for stretches of imprisonment:

      Year         Age          Principal Charge

      1980         18           Burglary
      1981         18           Robbery and assault
      1982         20           Criminal trespass
      1983         21           Burglary
      1983         21           Theft
      1984         22           Burglary
      1986         24           Retail theft
      1986         24           Theft
      1986         24           Burglary
      1997         35           Burglary
      1998         36           Burglary
      2003         41           Burglary
      2009         46           Felon in possession

PSR ¶¶ 54-66.

      Although his life of crime has been characterized by burglary and other

theft offenses, there have been instances of violence as well. In 1981, when Turner

was 18 years old, he robbed a person of five dollars and punched the victim. In

2003, when Turner was 41 years old and he burglarized a store, he and his

accomplice struck the store clerk in the eye and kicked him.

      Despite numerous convictions and periods of incarceration, Turner’s

criminal conduct escalated over the years, rather than diminishing as he grew

older. Some of his earlier convictions were for stealing purses or bags. In 1998,

however, when he was 36 years old, he burglarized a store and stole 17

computers. In 2009, he was convicted of being a felon in possession, and of

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making false statements to a federal firearms licensee, after he paid someone to

buy a firearm for him, and he then sold the firearm.

      All of his crimes, as he admits, were obviously fueled by drug addiction,

and they continued even as his health declined. He had a kidney transplant in

2006, before his first federal conviction. He nevertheless engaged in federal

firearms crimes in 2009. He began dialysis in 2016, after he was released from

federal prison, and was undergoing such treatment at the time he robbed the

banks in February 2017. PSR ¶ 94.

      Specifically, he was released from federal prison on November 29, 2016, at

age 54. He then committed the three bank robberies at issue in the present case

less than three months later, starting a few days before his 55th birthday. At the

time, his mother perhaps put it best, telling the probation officer, “My son is a

good guy. He is a loving person and giving. He just can’t stop stealing.” PSR ¶ 91.

      That is why this Court imposed a sentence of 96 months’ imprisonment, at

the top of the advisory guideline range of 77 to 96 months. The Court found that

Turner was “incorrigible,” “just committed to committing crimes,” and a “threat

to public safety.” N.T. 11/21/17, 8. In fact, the Court noted that no upward

departure would be given because it had not been requested, but that “the record

would allow” the Court to do so. N.T. 11/21/17, 9. The bank robbery conviction

violated Turner’s supervision on the firearms charge, and a sentence of 24

months of incarceration was imposed, on December 14, 2017, for that violation.



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      Turner is serving his sentence at Federal Medical Center – Devens, with an

anticipated release date of November 27, 2023. According to the Bureau of

Prisons’ calculation, because Turner had jail credit from his earlier periods of

incarceration, he is considered to have served 4 years and 10 months, or

approximately 49% of his sentence for the bank robbery convictions.

      Turner has had only one relatively minor disciplinary violation while

serving his current sentence for the bank robberies. However, during his earlier

period of incarceration for the firearms offense, he had 13 disciplinary

infractions. While many were lower-level offenses, several of them raise a

concern about Turner’s propensity for violence. In 2012, he threatened a

commissary worker with bodily harm. In 2012, he engaged in tattooing or self-

mutilation. In 2014, he was found to have been in possession of a razor blade type

of weapon and to have manufactured the weapon, but he was found not

competent to be held responsible for the violation.

      B.     Request for Compassionate Release.

      On September 10, 2019, Turner submitted a request for compassionate

release to the warden. Turner’s request was based on the fact that he is on dialysis

and purportedly in need of a kidney transplant. The presentence report and

Turner’s medical records show that Turner received a kidney transplant in 2006.

The kidney failed in 2016 – before the latest crimes of conviction – and Turner

has been receiving dialysis three times a week since that time. PSR ¶ 94.



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      Turner’s medical records also show that, in February 2020, Turner was

evaluated by a head and neck surgeon to plan for a parathyroidectomy to address

thyroid issues. Defense Exhibit B.

      Turner’s request to the warden in September 2019 was obviously made

before the coronavirus risk was known, and appears to have been made before

surgery was considered to address his thyroid issues. On October 3, 2019, the

warden rejected the request for compassionate release. The warden found that

Turner has a significant medical history which includes “end state renal disease

on hemodialysis, vitamin D deficiency, gout, anemia in chronic kidney disease,

hypertension, secondary hyperparathyroidism (of renal origin), benign

hypertrophy of prostate, vitamin B12 deficiency anemia, hyperlipidemia,

unspecified osteoarthritis, and disorder of the bone.” Defense Exhibit A. The

warden concluded, in October 2019, that while Turner had a significant medical

history, he was not medically debilitated to an extent that would constitute

extraordinary and compelling reasons for release. The warden found that, in

October 2019, Turner’s medical conditions were treatable, and that “FMC Devens

is able to manage your medical needs at this time.”

      Turner was given notice of the warden’s denial on October 9, 2019. In his

motion now, Turner claims that he appealed the decision on or about October 9,

2019, and he has received no response to his appeal. Motion at 3. However, the

Bureau of Prisons has no record of any administrative appeal being made, and



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Turner provided no documentation to show that he did pursue an administrative

appeal.

       BOP medical records show that Turner’s medical condition is presently

unchanged. His primary ailment remains end-stage renal disease, and he

continues to receive dialysis three times a week. He presents no new complaint.

       Throughout his incarceration, Turner has had work assignments that

require him to walk and to engage in physical activity. His current assignment,

made on February 13, 2020, is to serve both as a compound orderly and as a

member of the inside trash crew. He is not bedridden or unable to care for

himself.

       At a medical evaluation on March 5, 2020, Turner attested that despite

increased pain in his knees and ankles, he prefers not to use a walker and is able

to walk 20 minutes before there is a lot of pain. The medical staff noted that he is

“currently independent with all functional mobility/ADLs,” meaning he carries

out all “activities of daily living.”

       At his most recent evaluation, on April 2, 2020, Turner reported continued

symptoms of bilateral knee mild osteoarthritis, stating there was stiffness and

aching pain that he rated 3 on a scale of 10 upon initiation of walking and other

mobility, with gradual improvement over minutes. He said that knee pain

returned after long periods of activity and at the end of the day. He said he had

no “mobilization limitations on the compound,” according to the doctor’s

summary, but “[s]ome ADLs are difficult, such as reaching under his bed and the

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bottom of the locker because he has to kneel down. He denies back pain, denies

radicular symptoms, denies paresthesias. He performs PT [physical therapy]

home exercises without complaints. No pain at rest during exam today.” The

examiner concluded: “He is tolerating home exercises well. He has no signs of

acute OA [osteoarthritis] exacerbation. He has full ROM [range of motion] and

excellent strength without pain. His home exercises were progressed accordingly

to include weight bearing eccentrics for improved strengthening with minimized

strain on the knees. Reviewed biomechanics of the knee and technique for ADLs

to avoid knee exacerbations. No further PT indicated at this time.”

      In the meantime, on March 27, 2020, Turner presented a motion for

compassionate release (although the motion does not appear on the docket). In

that motion, he did not describe any new ailment, but sought release based on the

emergence of COVID-19, and the risk he would face due to his end-stage renal

disease were he to contract the coronavirus. The government objected to

consideration by this Court at that time, stating that Turner had not met the

requirement of Section 3582(c)(1)(A), that he first present his request to BOP,

and wait 30 days after presentation of the request to the warden before filing a

motion in court. Following further litigation, on April 7, 2020, this Court entered

an order directing Turner to present a request to the warden by April 8, and

stating that it would then give the government only 15 days to respond.

      Turner’s counsel emailed a request to the warden on April 8, 2020. The

undersigned advised the BOP institution, FMC Devens, of the Court’s order, and

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the timetable, and sent periodic reminders. Late on April 23, BOP counsel

advised that the social worker’s office at Devens, which initiates review of

compassionate release requests, had not yet reviewed this request. He stated that

the office has been receiving 50 or more such requests a day, making impossible

any prompt exercise of the thorough review of compassionate release requests

that BOP ordinarily exercises.

      Thus, at this writing, BOP has not engaged in administrative review, but

this Court has held that Turner may proceed to seek judicial consideration, as he

would be able to in any case in which BOP did not reach an administrative

determination. We therefore proceed on behalf of the government to address this

motion on the merits. The absence of further administrative review is not

relevant here, given that this defendant is so obviously not a proper candidate for

compassionate release.

II.   Discussion.

      The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended

by the First Step Act on December 21, 2018, provides in pertinent part:

      (c) Modification of an Imposed Term of Imprisonment.—The court may
      not modify a term of imprisonment once it has been imposed except that—

      (1) in any case—

      (A) the court, upon motion of the Director of the Bureau of Prisons, or
      upon motion of the defendant after the defendant has fully exhausted all
      administrative rights to appeal a failure of the Bureau of Prisons to bring a
      motion on the defendant’s behalf or the lapse of 30 days from the receipt of
      such a request by the warden of the defendant’s facility, whichever is
      earlier, may reduce the term of imprisonment (and may impose a term of

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      probation or supervised release with or without conditions that does not
      exceed the unserved portion of the original term of imprisonment), after
      considering the factors set forth in section 3553(a) to the extent that they
      are applicable, if it finds that—

      (i) extraordinary and compelling reasons warrant such a reduction . . .

      and that such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission . . . .

Further, 28 U.S.C. § 994(t) provides: “The Commission, in promulgating general

policy statements regarding the sentencing modification provisions in section

3582(c)(1)(A) of title 18, shall describe what should be considered extraordinary

and compelling reasons for sentence reduction, including the criteria to be

applied and a list of specific examples. Rehabilitation of the defendant alone shall

not be considered an extraordinary and compelling reason.” Accordingly, the

relevant policy statement of the Commission is binding on the Court. See Dillon

v. United States, 560 U.S. 817, 827 (2010) (where 18 U.S.C. § 3582(c)(2) permits

a sentencing reduction based on a retroactive guideline amendment, “if such a

reduction is consistent with applicable policy statements issued by the

Sentencing Commission,” the Commission’s pertinent policy statements are

binding on the court).1



      1 Prior to the passage of the First Step Act, while the Commission policy
statement was binding on the Court’s consideration of a motion under
§ 3582(c)(1)(A), such a motion could only be presented by BOP. The First Step
Act added authority for an inmate himself to file a motion seeking relief, after
exhausting administrative remedies, or after the passage of 30 days after
presenting a request to the warden, whichever is earlier.

      Under the law, the inmate does not have a right to a hearing. Rule 43(b)(4)
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      The Sentencing Guidelines policy statement appears at § 1B1.13, and

provides that the Court may grant release if “extraordinary and compelling

circumstances” exist, “after considering the factors set forth in 18 U.S.C.

§ 3553(a), to the extent that they are applicable,” and the Court determines that

“the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).”

      Critically, in application note 1 to the policy statement, the Commission

identifies the “extraordinary and compelling reasons” that may justify

compassionate release. The note provides as follows:

      1. Extraordinary and Compelling Reasons.—Provided the defendant meets
      the requirements of subdivision (2) [regarding absence of danger to the
      community], extraordinary and compelling reasons exist under any of the
      circumstances set forth below:

      (A)    Medical Condition of the Defendant.—

             (i)    The defendant is suffering from a terminal illness (i.e., a
                    serious and advanced illness with an end of life trajectory). A
                    specific prognosis of life expectancy (i.e., a probability of death
                    within a specific time period) is not required. Examples
                    include metastatic solid-tumor cancer, amyotrophic lateral
                    sclerosis (ALS), end-stage organ disease, and advanced
                    dementia.

             (ii)   The defendant is—

                    (I)   suffering from a serious physical or medical condition,



of the Federal Rules of Criminal Procedure states that a defendant need not be
present where “[t]he proceeding involves the correction or reduction of sentence
under Rule 35 or 18 U.S.C. § 3582(c).” See Dillon, 560 U.S. at 827-28 (observing
that, under Rule 43(b)(4), a defendant need not be present at a proceeding under
Section 3582(c)(2) regarding the imposition of a sentencing modification).
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                   (II)   suffering from a serious functional or cognitive
                          impairment, or

                   (III) experiencing deteriorating physical or mental health
                         because of the aging process,

                   that substantially diminishes the ability of the defendant to
                   provide self-care within the environment of a correctional
                   facility and from which he or she is not expected to recover.

      (B)   Age of the Defendant.—The defendant (i) is at least 65 years old;
            (ii) is experiencing a serious deterioration in physical or mental
            health because of the aging process; and (iii) has served at least 10
            years or 75 percent of his or her term of imprisonment, whichever is
            less.

      (C)   Family Circumstances.—

            (i)    The death or incapacitation of the caregiver of the defendant’s
                   minor child or minor children.

            (ii)   The incapacitation of the defendant’s spouse or registered
                   partner when the defendant would be the only available
                   caregiver for the spouse or registered partner.

      (D)   Other Reasons.—As determined by the Director of the Bureau of
            Prisons, there exists in the defendant’s case an extraordinary and
            compelling reason other than, or in combination with, the reasons
            described in subdivisions (A) through (C).

      In general, the defendant has the burden to show circumstances meeting

the test for compassionate release. United States v. Heromin, 2019 WL 2411311,

at *2 (M.D. Fla. June 7, 2019); United States v. Stowe, 2019 WL 4673725, at *2

(S.D. Tex. Sept. 25, 2019). As the terminology in the statute makes clear,

compassionate release is “rare” and “extraordinary.” United States v. Willis, 2019

WL 2403192, at *3 (D.N.M. June 7, 2019) (citations omitted).



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      Here, Turner is eligible for consideration. The government recognizes that,

in light of his end-stage renal disease, he is more vulnerable to adverse

complications should he contract COVID-19. To be sure, his end-stage renal

disease is presently managed, and he is fully ambulatory and capable of nearly all

activities of daily living. In ordinary times, he plainly would not be seen as

presenting any extraordinary and compelling circumstance as defined by the

guideline.2 But the risk of COVID-19 presents “a serious physical or medical

condition . . . that substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility,” as stated in note 1(A),

as Turner is less able to protect himself against an unfavorable outcome from the

disease.3




      2  See, e.g., United States v. Clark, 2019 WL 1052020, at *3 (W.D.N.C.
Mar. 5, 2019) (defendant suffers from declining health, diabetes, kidney failure,
and back problems requiring a walker; court holds that, even assuming the
defendant is suffering from a serious physical or medical condition or
deteriorating physical health due to age, she still falls short of the “extraordinary
and compelling” standard because she has not demonstrated that her condition
substantially diminishes her ability to provide self-care within the corrections
environment or that she is not expected to recover); United States v. Goode,
2020 WL 58272 (S.D.N.Y. Jan. 6, 2020) (while inmate’s kidney disease is
incurable, and she receives dialysis, “her disease is treatable, she is responding
well to that treatment, and she does not have an ‘end of life trajectory.’”).
      3 Accordingly, this Court need not consider Turner’s suggestion that his
condition falls under the “catch-all” provision of note 1(D), Motion at 4, as the
government acknowledges that he meets the threshold test of a medical condition
defined in note 1(A).
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      However, Turner is not entitled to relief, as this Court must also weigh the

18 U.S.C. § 3553(a) factors, and assess whether Turner presents a danger to the

community.

      He obviously does. At the risk of repetition, this is a man who committed

crimes continuously for 37 years, and most recently, robbed three banks while

on kidney dialysis. He is also a lifelong drug addict. The defense

acknowledges: “Mr. Turner’s criminal history involved non-violent burglary and

theft-related offenses which were most likely committed to support his pervasive

drug addiction.” Motion at 11. The notion of such a person being released early

into the community at any time, and particularly during a pandemic, is shocking,

given the obvious risk to his own safety, that of others, and that of the law

enforcement officers who will almost inevitably be required to intervene.

      In essence, as a 58-year-old man suffering from end-stage renal disease,

Turner is little removed from the 55-year-old man, suffering from the same

condition, who this Court elected to sentence at the high end of the guideline

range to a term of imprisonment of 96 months in order to protect the community

from his commitment to crime. Truly nothing has changed, except for the

emergence of the coronavirus. And in fact, it seems certain that the coronavirus

presents more danger to him out of prison than in it (putting aside the separate

need to protect the community from him).

      At FMC Devens, a state-of-the-art prison medical facility where BOP is

dedicated to protecting against COVID-19, and will provide all available

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treatment to those inmates who nevertheless contract it, as of this writing, a

single inmate has been diagnosed with the disease, out of an inmate population of

905 individuals, and no staff member. In the meantime, the disease is sadly

rampant in Philadelphia, where Turner says he would return to live, Motion at 17.

As of this writing, there are 11,226 residents of the city diagnosed with the

disease, and 443 people have died.4 Releasing Turner at this time is a recipe for

disaster.

       Defense counsel nevertheless states: “there is every indication that Mr.

Turner has developed a contrite heart and will strive to never repeat the mistakes

of his past.” Motion at 11. She cites no source and no reason whatsoever for such

blind optimism. But warming to the subject, counsel continues:

       Mr. Turner has reflected on his actions and acknowledged the mistakes he
       made and the harm his prior criminal conduct caused to his victims. He
       also has reflected on what led him to make poor life choices. Sadly, when
       faced with the diminished quality of life that is his inevitable future, his
       respect for life has been renewed. He has very few desires at this stage,
       except to live out the remainder of his days surrounded by his loving family
       and friends, instead of remaining incarcerated in a facility that is far from
       his family and home in Philadelphia.

Motion at 13. All of this may get high marks for creative writing, but Turner’s life

of crime and recidivism gives no reason whatsoever to believe or trust that a word

of it is true.




       4 In fact, while no person at the federal prison in Philadelphia has been
diagnosed with the disease, as of this writing, the undersigned is informed by
Pretrial Services that several defendants on pretrial release in this district have
contracted COVID-19, and one passed away.
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       Turner is a career offender, whom this Court saw fit just three years ago to

receive an eight-year sentence, at the top of the range, to protect the community.

He is currently well cared for. At this difficult moment in time, it is the courts’

responsibility to balance the needs of criminal offenders with the vital need to

protect the public. In the present case, the outcome of that balance is

unmistakable.

       Other courts have recently denied compassionate release in virtually

identical circumstances. In United States v. Stuyvesant, 2020 WL 1865771 (S.D.

Fla. Apr. 14, 2020), the court last week, presented with a compassionate release

motion based on the threat of COVID-19, assumed that that the defendant as

represented suffers from end-stage renal disease, but denied the motion because

the defendant is a repeat drug offender who committed offenses while suffering

from the same condition. The court stated:

       [T]he Defendant is a repeat drug offender. He was first exposed to
       Hepatitis C in 1993—while he was incarcerated for committing a separate
       drug offense. See Mot. at 4. But neither this exposure nor the many medical
       complications that ensued deterred him from committing other crimes. To
       the contrary, although he was released from federal prison in 2006, and
       despite his end-stage liver cirrhosis, see id., he went on to commit, just
       three years later, the serious drug offense for which he is now incarcerated.
       The Defendant’s suggestion that his liver cirrhosis entitles him to early
       release thus ignores the fact that he suffered from this very same condition
       when he committed the crime for which he now seeks release. The Court
       cannot agree that a defendant who is physically and mentally well enough
       to commit a serious federal crime is somehow not well enough to serve the
       sentence to which that crime inevitably exposes him.

Id. at *7.



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      The court reached the same result earlier this month in United States v.

Esparza, 2020 WL 1696084 (D. Idaho Apr. 7, 2020), where the defendant was 70

years old, had served more than 12 years in prison, and was experiencing a

serious deterioration in physical health as he aged; but this was his fifth drug

conviction over a span of decades, he led a substantial drug organization which

involved firearms, and he suffered from some of the same conditions at the time.

The court stated: “Esparza argues that his current medical conditions reduce the

risk of his returning to drug dealing. However, he committed his last drug

trafficking offense while suffering from some of those same medical problems.”

Id. at *4. The court concluded: “Esparza had drug trafficking convictions at ages

23, 40, 44, 50 and 59. It would be foolish to assume that he is unlikely to return

to peddling drugs at age 70.” Id. at *2.

      It would be equally foolish to believe here that Turner, at age 58 and fully

ambulatory, after a life of crime that included offenses committed recently while

suffering from the same ailments he presents now, would act any differently if

released. The motion for compassionate release should be denied.




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                            Respectfully yours,

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                            /s Robert A. Zauzmer
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                         CERTIFICATE OF SERVICE

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Dated: April 23, 2020.
